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                                                                       Page 1

1                  IN THE UNITED STATES DISTRICT COURT
2                              DISTRICT OF MINNESOTA
3
4    CIVIL NO. 18-1776 (JRT/HB)
5    0:21-MD-02998-JRT-HB
6    MDL NO. 2998
7
8    IN RE:       PORK ANTITRUST LITIGATION
9    This Document Relates to:                     All Actions
10
11
12
13
14                               HIGHLY CONFIDENTIAL
15                REMOTE VIDEO DEPOSITION OF NOEL WHITE
16                                    May 13, 2022
17
18
19
20
21
22   REPORTED BY:              Laura H. Nichols
23                             Certified Realtime Reporter,
24                             Registered Professional
25                             Reporter and Notary Public

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1    so we know it is from Larry Pope, right?
2               A.        That is true.          But --
3               Q.        You have got to wait until I ask a
4    question.
5               A.        Okay.
6               Q.        So you see that sentence at the
7    bottom and then it follows, quote, at the top of
8    the next page:         That three percent, let me say
9    that, our three percent will not fix the hog
10   industry.        That part I am confident of.                Somebody
11   else has got to do something.                 We cut thirteen
12   percent.        The first ten percent didn't fix it.                   I
13   don't think us get -- pardon me, us going from ten
14   to thirteen is going to fix the hog business.
15                        You see that, right?
16              A.        I do.
17              Q.        Again, as the former CEO of Tyson and
18   an existing board member of Tyson, is that the type
19   of statement you would make on an earnings call?
20                        MR. TAYLOR:         Objection, vague.            Calls
21   for a hypothetical and speculation.
22              A.        Eric, I am going to repeat what I
23   mentioned before, because this is referring to
24   the --
25              Q.        (BY MR. LIFVENDAHL:)              I think it

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1    calls for a yes or no.             I think it calls for a yes
2    or no answer.
3                         MR. TAYLOR:         No, Eric, please don't
4    interrupt the witness or tell him what his answer
5    should be.       He is trying to answer your question.
6                         Could the court reporter read the
7    question back, please?
8                         THE REPORTER:          Who asked that,
9    please?     I couldn't see.
10                        MR. TAYLOR:         Jarod Taylor asked for
11   the question to be read back.
12                        THE REPORTER:          Sure.
13                        (Record read.)
14              A.        I am going to give the same answer I
15   just gave.       Our practice at Tyson the last five
16   plus years has been to talk about what our
17   intentions are as a company, not for what others
18   should be doing in the industry.
19              Q.        (BY MR. LIFVENDAHL:)              When you read
20   the first part of that statement where he says
21   three percent will not fix the hog industry, what
22   did you understand that to mean?
23              A.        Well, the hog industry is independent
24   of the pork industry.            And, you know, as I
25   mentioned to Joseph, in this case he is talking to,

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1    you know, thousands of independent producers in
2    this country.        So I am not sure exactly who he was
3    talking to.       To convince thousands of producers to
4    change some type of production practices isn't very
5    practical, at least in my opinion.
6                         So he is not talking to the pork
7    industry.       He is talking to the hog industry, which
8    is completely independent of the pork industry.
9               Q.        I'm sorry.        I didn't mean to
10   interrupt you.         Are you done?
11              A.        We are not vertically integrated, at
12   least to a very small degree.                 I mean we supply --
13   particularly during this time period, we were
14   something into five percent vertically integrated.
15                        So there was very few pork processors
16   through this period of time that would have any
17   effect.     So it seemed like an odd comment to me.
18              Q.        Well, back in 2009, was Tyson making
19   a profit on their pork business?
20                        MR. TAYLOR:         Object to form, vague.
21              A.        I'm sorry, Eric, could you repeat
22   that?
23              Q.        (BY MR. LIFVENDAHL:)              Sure.     In 2009,
24   was Tyson making a profit in its pork business?
25                        MR. TAYLOR:         Objection, vague.

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1               A.        Let's segment that, Eric, because
2    when you say pork business, that can be defined
3    several different ways.             There's the pork
4    processing business.
5                         THE REPORTER:          I'm sorry.        That
6    garbled.
7               A.        I said -- I'm not sure where it
8    garbled at.       But there are segments within our pork
9    business.       There's the pork processing business,
10   and then there's, you know, as we heard earlier, a
11   Tyson pork group.          The Tyson pork group is where we
12   were selling baby pigs at a loss.
13                        The pork processing business, frankly
14   I don't recall if we were making money or not.                        But
15   there's two distinct parts to that business.
16                        I think, just in earlier testimony,
17   we were losing money.            I don't remember what year
18   it was that we closed the facilities in Arkansas
19   and Missouri.        It seems like it was that '09 time
20   period, which would be the same as this.
21                        So raising hogs, no, we were not
22   making money.        In pork processing where we were
23   processing the hogs themselves, frankly, I don't
24   recall.
25                        MR. TAYLOR:         Noel, I think you might

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